Case 1:25-cv-00946-CKK   Document 53-13     Filed 04/07/25   Page 1 of 2




                Exhibit 12
                  Civil Action No. 25-cv-0952 (CKK)
                                     Voter Registration
                      Case 1:25-cv-00946-CKK             Application
                                             Document 53-13 Filed 04/07/25                                                                                Page 2 of 2
           Before completing this form, review the General, Application, and State specific instructions.


Are you a citizen of the United States of America?             Yes          No
                                                                                    □                  □                   This space for office use only.
Will you be 18 years old on or before election day?            Yes          No
If you checked "No" in response to either of these questions, do not complete form. □                  □
(Please see state-specific instructions for rules regarding eligibility to register prior to age 18.)
                                   Last Name                                           First Name                                       Middle Name(s)                                     □ II
 1 □ Mrs. □ Ms.
           Mr.          Miss
                                                                                                                                                                                      □ Jr □ III
     □             □                                                                                                                                                                  □ Sr □ IV
     Home Address                                                                            Apt. or Lot #        City/Town                              State                   Zip Code
 2
     Address Where You Get Your Mail If Different From Above                                                      City/Town                              State                   Zip Code
 3
     Date of Birth                                              Telephone Number (optional)                             ID Number - (See item 6 in the instructions for your state)
 4                                                         5
                     Month         Day         Year                                                               6
     Choice of Party                                            Race or Ethnic Group
     (see item 7 in the instructions for your State)            (see item 8 in the instructions for your State)
 7                                                         8

     I have reviewed my state's instructions and I swear/affirm that:
     Q I am a United States citizen

     Q I meet the eligibility requirements of my state and


 9
       subscribe to any oath required.
     Q The information I have provided is true to the best of my
                                                                                                      I                       Please sign full name (or put mark) A
                                                                                                                                                                                              I
        knowledge under penalty of perjury. If I have provided false
        information, I may be fined , imprisoned, or (if not a U.S.
        citizen) deported from or refused entry to the United States.
                                                                                                        Date:
                                                                                                                  I   Month
                                                                                                                                  z z Day               Year
                                                                                                                                                                      I
 If you are registering to vote for the first time: please refer to the application instructions for information on
 submitting copies of valid identification documents with this form.


Please fill out the sections below if they apply to you.
 If this application is for a change of name, what was your name before you changed it?

                     Miss Last Name                                                                   First Name                                Middle Name(s)                               II

I IB B I
A
          Mr.
          Mrs.       Ms.

 If you were registered before but this is the first time you are registering from the address in Box 2, what was your address where you were registered before?
                                                                                                                                                                                        Jr
                                                                                                                                                                                        Sr
                                                                                                                                                                                             III
                                                                                                                                                                                             IV


     Street (or route and box number)                                                  Apt. or Lot #              City/Town/County                      State                     Zip Code
 B
I I                                                                                                                                                                             I                  I
 If you live in a rural area but do not have a street number, or if you have no address, please show on the map where you live.
     ■   Write in the names of the crossroads (or streets) nearest to where you live.                                                                                                 NORTH 


                                                                                                                      _ I .______I_
     ■   Draw an X to show where you live.
     ■   Use a dot to show any schools, churches, stores, or other landmarks
         near where you live, and write the name of the landmark.

          Example
 C
                                                Route #2




                                                               ● Grocery Store
                                                               Woodchuck Road
                       Public School ●                                                    X                                                            I I
 If the applicant is unable to sign, who helped the applicant fill out this application? Give name, address and phone number (phone number optional).

D

                       Mail this application to the address provided for your State.
OMB Control No. 3265-0015
